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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION


UNITED STATES OF AMERICA,

                            Plaintiff,
v.                                                     Case No. 2:17-mj-19
                                                       HON. TIMOTHY P. GREELEY
PATRICK JOSEPH SIEVERS,

                      Defendant.
_______________________________/

                                 ORDER OF DETENTION

         Defendant appeared before the undersigned on May 25, 2017, for an initial

appearance on the criminal complaint charging defendant with Possess with Intent to

Distribute Methamphetamine. The government requested the defendant be detained

pending further proceedings and detention hearing was scheduled for May 26, 2017 at

1:30 p.m.

         Defendant shall be detained pending further proceedings.


         IT IS SO ORDERED.


                                         TIMOTHY P. GREELEY
                                         UNITED STATES MAGISTRATE JUDGE
Dated:
